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EXHIBIT L

Case 1:09-cv-00597-Ll\/lB-TCB Document 41-13 Filed 10/23/09 Page 2 of 6 Pag)§i=i§n! “P§j

Roth, Melissa R.

From: Dickinson, Nlichelle J.

Sent: l\l'|ondayl Ootober 05, 2009 6:‘|8 PM

To: 'lsabei Nl Humphrey'

Cc: Roth, l\/lelissa R.; Cramerl Vanessa; dludwig@dglegal.com
Subject: RE: Loomis laptops

lsabet

The |aptop Joe returned to NEl last year is on its way to Washington, D.C. so that our computer consultant can
remove the data. not the software Once it has been removedl we will arrange for a time for him to deliver it to
your oche in Arizona and pick up the NE| laptop. We will schedule the exchange for a day when Joe can provide
the computer tower for imaging as well. We understand that you do not care whether we take special precautions
with Joe's computer, but we must protect our clients from allegations Joe likely will make if we don't do so. lt you
recall, a just few hours ago, he had you ready to file a counterclaim and call the police over a iaptop he gave NEI
over a year ago and that we already agreed to return. We're covering ourselves We expect you would do the
same in this situation

Wlth respect to the other computers in Joe's possession, custody or controll please advise as to your availability
for a telephone cai| tomorrow at 4:00 p.m. EST to formally meet and confer on this, and all other

outstanding discovery issues, in accordance with the Ruies. Thanks.

lVlichelle

From: lsabel M Humphrey [maiito:isabe|@hhy|aw.com]
Sent: Monday, October 05, 2009 4:59 PM

To: Dickinson, Michelle J.

Cc: Roth, Melissa R.; Cramer, Vanessa; d|udwig@dg|egal.com
Subject: RE: Loomis |aptops

l'm not fixated, lvlichelle. | sent you a simple emaii weeks ago expiaining the mistake and requesting a
prompt exchangel Since then, you've sent me several dissertations on the subject to which l feel
compelled to respond if your response had been, "OK, thanks for the information We'll send someone
upstairs to switch the laptops," we would have been done with this long ago_

You have explained why it will take you a week to pick up NEl‘s laptop-you want a computertech to
personain carry it from here to the East Coast so he can testify that nothing happened to it en route.
That's tine. but lt doesn't explain why you can't return Joe's iaptop in the meantime lt won't take a week to
remove NEl's data. Belleve me, l'm not holding NEl's laptop hostage. There is no need for a

literal "exchange" if you want to take special precautions with NEl's laptop.

ln the meantime, please arrange for Joe's laptop to be delivered to my of‘Hce by 5:00 pm tomorrow, or tell
us where it is so we can send someone to retrieve it. Also, once againl please confirm that when you say
you will remove the "data" from Joe's |aptop you are talking about NEi data and not data, installed software
or reload software that is part of the factory set-up (l.e.l data he paid for).

if your tech can give us sufficient notice for Joe to arrange to get the custom tower (the one listed on
Schedule 5.1) out of storage and over to my oche prior to his visit to pick up NEl‘s laptop, the tech is
welcome to image the hard drives on that machine As l believe you are already aware, however, the
computer would not boot up the first time Joe attempted to use it after retrieving it from NE|. lvlatt Leberer
then attempted to boot up the machine for severai hoursl but could not. The original drives were sent to
the manufacturer, and the manufacturer sent back replacement drives

We will not produce Joe's personal computer(s) for imaging.

l will respond in writing to your other communications if you feel we need a telephonic conference after

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that, we can schedule one.

isabel Nl. i-|umphrey, Esq_

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---- Origina| Niessage ----
From: "Dicl<insonl Miche||e J."
To: "lsabei Nl l-lumphrey"
Sent: ‘iO/O5f2009 12:42PNl
Subject: RE: l_oomis laptops

lsabel,

We are curious as to why, when you have yet to respond to our numerous letters regarding your clients'
discovery response deficiencies or our requests for deposition dates, and you have yet to produce a single
document in this case, you are Hxated on a |aptop computer that your client returned to Net Enforcers while
keeping Net Enforcers' newer model laptop over a year ago. We request that you focus on the more
pressing issues related to litigating this case ~ as discovery closes on December tith and we will find
ourselves in trial not long thereafter.

We are prepared to retrieve Net Eriforcers' laptop and return Loomis' iaptop with the software intact and
only the data removed We will do sol howeverl only under circumstances that will protect our clients from
potential claims from Loomis that our clients destroyed data or damaged either computer. Further, we will
do so under circumstances such that a qualified computer technician may testify that the computer Loomis
provides was not damaged after the exchange and before any forensic analysis can be performed
,L\ccordinglyl we will send a computer technician to your offices to make the exchange and transport the
computer back to the East Coast for examination. We should be able to do so in the next week or so after
the data has been removed We trust this will assuage your desire to bring civil or criminal charges against
our clients related to the laptop computer and will enable you to refocus your energies on the actual issues
in this case

We again request that you provide Loomis' computers for imaging by the computer technician we send to
exchange the laptops. This will save the parties time and resources Rather than threatening a
counterclaim or criminal actionl perhaps you could respond to our request for the computer images directly
and indicate whether you intend to produce Loomis' computers for imaging, an image of his computers or
nothing at al|. |f so. we can arrange for the images to be made by the computer technician at the time of
the laptop exchange if not, we will move forward with seeking the court's assistance with this matter

We look forward to your prompt attention and response to this and all other outstanding discovery issuesl
As you did not respond to our small sent at 1122 p.rn. EST today requesting a call at 3:00 p.m. EST today
or 4:00 p.m. EST tomorrow to discuss the discovery issues, please advise as to your availability for a call
tomorrow at 4:00 p.m. EST_ Thank you in advance for your cooperation with these issues

!vlichel|e

From: Isabei M Humphrey [mailto:isabei@hhylaw.com]
Sent: Monday, October 05, 2009 2:45 PM
To: Dickinson, Miche|le J.

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10/23/2009

Cc: Roth, Meiissa R.; Cramer, Vanessa
Subject: RE: Loomis iaptops

So send someone upstairsl l will not move the iaptop in my possession until they get here, l wiii let
them pick it up so l don't drop it, and l will keep it away from any large magnets l can't imagine
what you think might happen that would require the presence ofa computer techi'consu|tantl but if
you really need one, there are probably a couple of dozen available within a 5-rninute drive from this
building who would be happy to charge you $‘iOO per hour to drive over here and switch the

laptops. No need for anyone to fly in from out of state

lf| do not have Joe's laptop by the end of the business day tomorrow, we will move to add a
conversion count to the counterclaim and Joe will call the police i am not conditioning the release
of NE|'s laptop on the resolution of any of our discovery issues and there is no excuse for you
conditioning the release of Joe's iaptop on any of those issues

Regarding the laptop in NEi‘s possessionl please confirm that when you say you will remove the
"data" on that laptop prior to the exchange you are referring only to NE| data, and you will leave in
place aii installed software

isabel M. i-Iumphreyl Esq,

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----- Origina| lV|essage ----
From: "Dicl<inson, lillicheiie J."
To: "isabel Nl Humphrey"
Sent: 10."05/2009 ‘i‘l:‘iSANl
Subject: RE: Loomis taptops

Thanks for your email response |sabel. in light of the data destruction issues in this casel our client
is taking extra measures to ensure that the exchange of computers does hot unnecessarily lead to a
data destruction problem

Niiche||e

From: Isabe| M Humphrey [maiito:isabei@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dici<inson, Miche||e J.

Cc: Roth, Melissa R.; Cramer, Vanessa

Subject: Re: Loomis laptops

i\ilichellel l can't understand why you need an out-of-state “consuitant" to "facilitate" the
exchange of the laptops. Can't you just send someone up from downstairs'?? Ori can send
someone downstairs Either way. This should take 2 minutes

isabel iVi. Humphreyl Esq.

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----- Original Nlessage ----
From: "Dickinsonl Michelle J."
To:

Sent: 10/02/2009 5:47PiVl
Subject: Re: Loomis |aptops

lsabel,

Thank you for your email. As explained in our ietter, we will be paying a consultant to facilitate the
exchange of the laptop computers as a result of Joe's return of the wrong computer after his
termination In order to avoid unnecessary additional expenses it makes sense to have the consultant
make only one trip to Arizona and image the tower and the other computers in Joe's possession,
custody or control during that visit Please confirm your agreement with this arrangement Thanks.
l\/lichelle

Michclle .l. Dickinson

DLA Piper LLP (us)

6225 Smith Avenuc

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Originai Message -----

From: isabel M Humphrey <isabel@hhyiaw.com>
To: Dickinson, Michelle .l.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis iaptops

Michelie, l've reviewed your latest communication regarding the laptops. l'm glad we have finally
resolved the ownership issue. Please have your computer tech call me to arrange a time to exchange
the laptops. l will be in the office most of the day Monday and Tuesday.

l will respond to the other issues raised in your letter, but obviously NEl is required to return Joe's
property immediately and unconditionally

Isabel M. Humphrcy, Esq.

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Inf`ormation from ESET NOD32 Antivirus, version of virus signature database 4482
(20091005)

The message was checked by ESET NOD32 Antivirus.

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10/23/2009

